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                             EXHIBIT A
1/2/25,Case
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                                                        Document      Aynur Baghirzade Mail01/02/25
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                                                                                    Aynur Baghirzade <contact@aynurlawyers.com>



  Extension of time
  1 message

  Aynur Baghirzade <contact@aynurlawyers.com>                                                                   Fri, Dec 20, 2024 at 6:39 PM
  To: Leah Plaskin Lorenz <LLorenz@klinedinstlaw.com>

    Hello Leah,

    Hope this email finds you well. Would you agree to further extension of your motion to February?

    Since ASN's motion was added to January I don't think that I will be able to be on time with all motions.

    Let me know.

    Thanks,

    --
    Respectfully,

    Aynur Baghirzade, Esq.
    ACCUR LAW FIRM

    Phone: 619-776-4882
    Email: contact@aynurlawyers.com

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                             EXHIBIT B
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                                                                                   Aynur Baghirzade <contact@aynurlawyers.com>



  Baghirzade v. Los Angeles County Bar Association, et al.
  2 messages

  Leah Lorenz <llorenz@rosinglaw.com>                                                                          Thu, Jan 2, 2025 at 8:41 AM
  To: "contact@aynurlawyers.com" <contact@aynurlawyers.com>


    Happy New Year, Ms. Baghirzade,



    I didn’t receive your prior communication and was out of town through the holidays. Going forward, you can reach me
    via this email address.



    I am willing to move the hearing date one week, from 1/20/25 to 1/27/25. I understand that you are dealing with a lot of
    motions, but I articulated our arguments when we met and conferred regarding the First Amended Complaint and
    those arguments remained the same with the Second Amended Complaint (as I again articulated when I met and
    conferred regarding the Second Amended Complaint). Thus, the arguments were made many months ago.



    Alternatively, if we keep the 1/20/25 hearing date, I am amenable to you filing one joint opposition with respect to the
    motions filed by LACBA and the Orange County Bar Association (OCBA). If the date moves one week to 1/27/25, and
    the OCBA is amenable, I will be amenable to you filing a joint opposition with respect to that hearing date. I will
    confirm this position in a response to your motion.



    Thank you,



    Leah




                                              Leah Plaskin Lorenz

                                              Partner



                                               (213) 695-4416

                                               llorenz@rosinglaw.com

                                               501 W Broadway, A380

                                               San Diego, CA 92101




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  Aynur Baghirzade <contact@aynurlawyers.com>                                                                  Thu, Jan 2, 2025 at 8:48 AM
  To: Leah Lorenz <llorenz@rosinglaw.com>

    Hi Leah,


    I am against moving it to another date in January, and in any case ex partes are considered accepted if you do not
    respond to them within 2 days. December 30 and January 1 were working days - you missed it.

    I am not going to go forward with any joint motion either. I should have normal time to respond to motions, not jump
    from one to another.

    Happy New Year!

    Respectfully,

    Aynur
    [Quoted text hidden]




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